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                                                              U.S. Department of Justice

                                                              United States Attorney’s Office
                                                              District of Rhode Island



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                                                              June 7, 2023

      Maria R. Hamilton
      John Joseph Moakley U.S. Courthouse
      1 Courthouse Way
      Boston, MA 02210

      Re:    Zarlenga, et. al. v. United States of America, et. al., Nos. 23-01170, 23-01221

      Dear Ms. Hamilton:

              On May 2, 2023, the Court set a briefing schedule in the above-captioned matters,
      indicating that the appellees’ brief will be due 30 days following service of the appellant’s brief.
      The docket indicates that the appellant’s brief was served on June 5, 2023.

              Under the circumstances, I wish to bring the Court’s attention to the fact that none of the
      federal defendants was ever served with the complaint in the district court. See Zarlenga, et. al.
      v. United States, et. al., No. 23-01221, Clerk’s Supplemental Certificate of the Record on Appeal
      at pp. 2-12, Civil Docket for Zarlenga et al v. United States of America, et. al., No. 22-cv-00372-
      MSM-LDA (D.R.I. filed October 12, 2022).

              They were therefore not parties to the action in the court below, nor are they properly
      considered parties to either of Ms. Zarlenga’s appeals. See Brait Builders Corp. v.
      Massachusetts, Div. of Capital Asset Management, 644 F.3d 5, 9-10 (1st Cir. 2011); Echevarria-
      Gonzalez v. Gonzalez-Chapel, 849 F.2d 24, 28 (1st Cir. 1988). That is why our office has not
      entered an appearance on appeal and why the government does not intend to file an opposition
      brief on behalf of the federal defendants.

              I respectfully request that you bring this letter and the federal defendants’ status in this
      case to the attention of the panel considering Ms. Zarlenga’s appeal. Thank you for your
      consideration.

                                                              Sincerely,


                                                              Lauren S. Zurier
                                                              Chief, Appellate Division
                                                              U.S. Attorney’s Office
                                                              District of Rhode Island
